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                         FOR THE SOliUiERN DISTRICT OF TEXAS
                                        HOli~10N       DIVISION

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